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         Growth & Marketing



       First-Party vs. Third-Party Data:
       Differences, Use Cases, & Tips
              January 26, 2024

       By Segment




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       Historically, third-party data has been a bi
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       without their knowledge or consent.

       At Segment, we’ve long pointed to first- and zero-party data as the best way to drive business
       insights, create better marketing campaigns, and build customer trust. Below, we explore key
       differences between third- and first-party data as a quick refresher.


       What is third-party data?
       Third-party data refers to data that’s collected about a customer by someone other than the
       company that will use it. Third-party data can range from demographic to information on people’s
       online behavior. And while it can offer quick insights, third-party data comes with disadvantages.

       Since this data is obtained from an outside source (i.e., a third party), there are no guarantees that it
       was collected in a way that’s compliant with relevant privacy laws and regulations, or that the data
       is up-to-date and accurate.

       On top of that, third-party data can create a rift between a business and the customer. When
       someone starts receiving personalized ads from a business they’ve never interacted with– but who
       has insight into their behavior– it can come across as off putting or even creepy.


       The difference between third-party data and third-party
       cookies
       Issues of privacy, compliance, and personalization are all interconnected when talking about
       customer data (especially for marketing and advertising purposes). However, it’s important to note
       a key distinction between third-party data and third-party cookies.

       As we know, third-party data refers to data that’s collected and aggregated by a company or entity
       that doesn’t have a direct relationship with the users (that the data is about).

       A third-party cookie is a small piece of data that’s stored on a user’s browser by a different website
       than the one they’re currently on. Third-party cookies had been a staple of retargeting and digital
       advertising for years, but are now being phased out by browsers like Safari, Google, and Firefox due
       to growing privacy concerns.




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       You
       Y
       You can learn more about the phaseout of third
                                                third-party
                                                      party cookies here.
                                                                    here


       First-party data vs. third-party data
       On the other end of the spectrum from third-party data is first-party data – or data that a company
       collects from direct customer interactions (e.g., products viewed, in-app behavior, transaction
       history, etc.).

       Some of the biggest differences between first- and third-party data boil down to data privacy and
       personalization – here’s why.


       Data privacy considerations
       With a first-party approach, data is collected, stored, and protected by the business using it. It
       always remains in your control and can be updated as needed to maintain and uphold the wishes of
       the customer (e.g., handling user suppression or deletion requests).

       Third-party data may be obtained in any number of ways; only the entity that initially collected it
       knows exactly how. It's possible to check on data collection methods by reading the terms and
       conditions of major data companies. However, once data gets sold and resold, it could be altered.


       Better personalization


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       First-party data is more effective at personalization than third-party data, as it provides specific
       insight into the relationship customers have with your brand. Questions such as “What features do
       my customers use most?” or “How many searches do they perform?” are answered by the unique
       data you collect via a customer’s interaction, not as part of a dataset for activity across the entire
       iinternet.
         ntternett.

       In fact, many consumers prefer a personalized experience based on the first-party data.




       Source


       How Segment helps prioritize first-party data
       Segment helps businesses collect, clean, and consolidate first-party data, and then activate that
       data in any downstream destination.


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       Break down data silos with Connections
       Data silos can be incredibly difficult to break down, and wreak havoc on businesses’ ability to
       leverage insights. With Segment C
                                       Connections,
                                        onnections, organizations can integrate the different tools and
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       along with the ability to create custom data Sources and Destinations).

       Businesses can then integrate data from every touchpoint, including sales apps, payment
       processing systems, customer support tools, and more.


       Take control of your data quality with Protocols
       Segment’s Protocols helps you manage first-party data to ensure accuracy and integrity. With
       automated data validation, you can block or fix data that doesn’t match a predefined naming
       convention before it reaches downstream tools.




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       With Protocols,
            Protocols data that doesn't adhere to your tracking plan is automatically blocked from downstream tools
                                                                                                              tools.



       Scale personalized experiences with Unify
       Segment Unify empowers businesses with complete customer profiles that are updated in real time.
       With Unify,
                y, you
                   y can stitch together
                                  g      anonymous
                                             y     user behavior with a known p
                                                                              profile once that user
       becomes a part of your database, and leverage this data for highly personalized experiences.
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                  The State of Personalization 2023

                  Our annual look at how attitudes, preferences, and experiences with personalization
                  have evolved over the past year.



                  Get the report




                                          Frequently asked questions
       How do businesses typically collect first-party data?



       Why might a company choose to use first-party data over third-
       party data?



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       Can zero and first-party data be used together?



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              Explore the nuances between first-party and zero-party data, their strategic value and use
              cases, and how Segment ensures ethical and effective data collection.




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              Data Hygiene: Best practices, FAQs, and How to Improve
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                Advertising


              From Cookies to Consent: Addressing
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              face challenges in audience targeting. Segment offers solutions through its first-party data
              approach.




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